                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                  No. CR 07-0009
 vs.                                                ORDER REGARDING
                                               MAGISTRATE’S REPORT AND
 JANET DENISE CHASE,                                RECOMMENDATION
                                                CONCERNING DEFENDANT’S
                 Defendant.                            GUILTY PLEA
                                  ____________________


                        I. INTRODUCTION AND BACKGROUND
         On June 20, 2007, a four-count Second Superseding Indictment was returned against
the defendant Janet Denise Chase. On August 9, 2007, the defendant appeared before
United States Magistrate Judge Jon S. Scoles and entered a plea of guilty to Count 3 of the
Second Superseding Indictment. On August 9, 2007, Judge Scoles filed a Report and
Recommendation in which he recommended that defendant’s guilty plea be accepted. No
objections to Judge Scoles' Report and Recommendation were filed. The court, therefore,
undertakes the necessary review of Judge Scoles' recommendation to accept defendant’s
plea in this case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the

       Case 1:07-cr-00009-LRR-CJW        Document 69      Filed 08/24/07    Page 1 of 2
              findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
              The district judge to whom the case is assigned shall make a de
              novo determination upon the record, or after additional
              evidence, of any portion of the magistrate judge’s disposition
              to which specific written objection has been made in
              accordance with this rule. The district judge may accept,
              reject, or modify the recommended decision, receive further
              evidence, or recommit the matter to the magistrate judge with
              instructions.
FED. R. CIV. P. 72(b).
       In this case, no objections have been filed, and it appears to the court upon review
of Judge Scoles' findings and conclusions, that there is no ground to reject or modify them.
Therefore, the court accepts Judge Scoles' Report and Recommendation of August 9,
2007, and accepts defendant’s plea of guilty in this case to Count 3 of the Second
Superseding Indictment.
       IT IS SO ORDERED.
       DATED this 24th day of August, 2007.




    Case 1:07-cr-00009-LRR-CJW         Document 69       Filed 08/24/07    Page 2 of 2
